Case 1:04-cv-01284-.]DT-de Document 30 Filed 08/19/05 Page 1 of 3 Page|D 25

FILED BY ___ D,c
UNITED STATES DISTRICT COURT '

FOR THE WESTERN DISTRICT OF TENNESSEE 05 `
Eastern Division AUG l 9 PH 3’ h3

 

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CAROLYN v. sCOTT, lndlvldually W#D Oi-` ;.v- ‘*"i):pH;g_

‘\'- "`»"r[l?
and as next friend of
DESHAWN SCOTT,

Plaintiffs,

v. No.: 1-04-1284 T/AN
WILLIAM ROGERS, CHRISTINE
ROGERS and MARY BETH MCCLURE,
Individually, as Agent, and dfb/a
REALTY SHOPPE,

W\_/\./\_/\_¢\_/\_/\_/\_/\_/\_/\_/\_l

Defendants.

 

ORDER MODIFYING SCHEDULING ORDER

 

Upon the joint motion of all the paities, it appears to the Court that the motion that seeks
to modify the scheduling order is well-taken and should be granted.
IT IS THEREFORE ORDERED, AJUDGED AND DECREED that the Rule 16(b)
Scheduling Order previously entered is amended as follows:
1 . That the deadline for all parties to take depositions in this matter is extended until
August 17, 2005.

2. All dates previously entered shall remain the same.

This document entered on the docket heat In com ||ance
with Rule 58 and!or 79(a) FRCP on d 322 'Q; l

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Date

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case l:04-CV-01284 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

